                                 Case 2:19-cv-00743-RFB-DJA Document 44
                                                                     43 Filed 07/09/20
                                                                              07/08/20 Page 1 of 2



                              1 McCormick, Barstow, Sheppard,
                                Wayte & Carruth LLP
                              2 Wade M. Hansard
                                Nevada Bar No. 8104
                              3   wade.hansard@mccormickbarstow.com
                                Jonathan W. Carlson
                              4 Nevada Bar No. 10536
                                  jonathan.carlson@mccormickbarstow.com
                              5 Renee M. Maxfield
                                Nevada Bar No. 12814
                              6   renee.maxfield@mccormickbarstow.com
                                8337 West Sunset Road, Suite 350
                              7 Las Vegas, Nevada 89113
                                Telephone:    (702) 949-1100
                              8 Facsimile:    (702) 949-1101

                              9 Attorneys for GEICO CASUALTY COMPANY

                         10
                                                                UNITED STATES DISTRICT COURT
                         11
                                                                      DISTRICT OF NEVADA
                         12

                         13
                            KELSY ARLITZ, individually; GARY                       Case No. 2:19-cv-00743-RFB-CWH
                                                                                                              DJA
                         14 ARLITZ, as general guardian of ward KELSY
                            ARLITZ; KARIE ARLITZ, as general                       STIPULATION AND ORDER TO
                         15 guardian of ward KELSY ARLITZ,                         EXTEND TIME FOR DEFENDANT TO
                                                                                   RESPOND TO PLAINTIFFS’ MOTION
                         16                       Plaintiffs,                      TO COMPEL DEPOSITIONS OF
                                                                                   DEFENDANT GEICO CASUALTY
                         17                 v.                                     COMPANY’S CLAIMS PERSONNEL BY
                                                                                   REMOTE MEANS PURSUANT TO FRCP
                         18 GEICO CASUALTY COMPANY; DOES 1                         30(b)(4) (FIRST REQUEST)
                            through 100 and ROE CORPORATIONS 1
                         19 through 100, inclusive,

                         20                       Defendants.

                         21

                         22                 IT IS HEREBY STIPULATED by the parties above named, by and through their respective
                         23 counsel of record, that Defendant GEICO Casualty Company be granted an extension of time in which

                         24 to file a response to Plaintiffs’ Motion to Compel Depositions of Defendant GEICO Casualty

                         25 Company’s Claim Personnel by Remote Means Pursuant to FRCP 30(b)(4) [Doc. 42] which was filed

                         26 on June 24, 2020. The parties stipulate to extending the time for Defendant’s response to July 10,

                         27 2020.

                         28 / / /
MCCORMICK, BARSTOW ,            6946911.1                                                          2:19-cv-00743-RFB-CWH
 SHEPPARD, W AYTE &
   CARRUTH LLP                     STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO PLAINTIFFS’ MOTION TO COMPEL
8337 W. SUNSET RD SUITE 350
   LAS VEGAS, NV 89113                                             (FIRST REQUEST)
                                   Case 2:19-cv-00743-RFB-DJA Document 44
                                                                       43 Filed 07/09/20
                                                                                07/08/20 Page 2 of 2



                              1               This is the first stipulation for extension of time to file Defendant’s response.

                              2               DATED this 8th day of July, 2020

                              3                                                   PRINCE LAW GROUP
                              4                                                   By           /s/ Kevin Strong
                              5                                                         Dennis M. Prince, Nevada Bar No. 5092
                                                                                        Kevin Strong, Nevada Bar No. 12107
                              6                                                         8816 Spanish Ridge Ave
                                                                                        Las Vegas, Nevada 89148
                              7                                                         Telephone: (702) 534-7600
                              8                                                         AND

                              9                                                         Farhan R. Naqvi, Nevada Bar No. 8589
                                                                                        Elizabeth E. Coleman, Nevada Bar No. 12350
                         10                                                             Paul G. Albright, Nevada Bar No. 14159
                                                                                        Naqvi Injury Law
                         11                                                             9500 West Flamingo Road, Suite 104
                                                                                        Las Vegas, Nevada 89147
                         12                                                             Tel. (702) 553-1000
                         13                                                             Attorneys for Plaintiffs
                         14                   DATED this 8th day of July, 2020
                         15
                                                                                  McCORMICK, BARSTOW, SHEPPARD,
                         16                                                       WAYTE & CARRUTH LLP

                         17                                                       By            /s/ Jonathan W. Carlson
                                                                                        Wade M. Hansard, Nevada Bar No. 8104
                         18                                                             Jonathan W. Carlson, Nevada Bar No. 10536
                                                                                        Renee M. Maxfield, Nevada Bar No. 12814
                         19
                                                                                        8337 West Sunset Road, Suite 350
                         20                                                             Las Vegas, Nevada 89113
                                                                                        Tel. (702) 949-1100
                         21
                                                                                        Attorneys for GEICO CASUALTY COMPANY
                         22 IT IS SO ORDERED.

                         23             DATED thisthis
                                          DATED     9th___
                                                        day  ofof
                                                           day  July, 2020.
                                                                  _______________, 2020

                         24
                                                                                  By
                         25                                                             UNITED STATES MAGISTRATE JUDGE
                         26

                         27

                         28
MCCORMICK, BARSTOW ,              6946911.1                                  2                       2:19-cv-00743-RFB-CWH
 SHEPPARD, W AYTE &
   CARRUTH LLP                       STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO PLAINTIFFS’ MOTION TO COMPEL
8337 W. SUNSET RD SUITE 350
   LAS VEGAS, NV 89113                                               (FIRST REQUEST)
